                             UNITED STATES BANKRUPTCY COURT

                                EASTERN DISTRICT OF MICHIGAN


In the matter of:                                        Case No. 12-33563-DOF

Kevin M Nolley                                           Chapter 13 Proceedings

Debtor(s).                                               Judge Daniel Opperman
__________________________________/

                                NOTICE OF UNCLAIMED DIVIDENDS


TO: CLERK OF THE COURT


    The attached check represents an unclaimed dividend in this estate and is remitted to the clerk of
the court pursuant to U.S.C. 347(a). The name of the party entitled to this unclaimed dividend is as
follows:


Creditor or Debtor          Court         Trustee    Class                        Amt. of
Name                        Clm.#         Clm.#      of Claim       Check#        Check
                                                                    861718        $4696.08
 Kevin M. Nolley              Debtor
                              Refund




Dated: Thursday, July 5, 2018                           ___/s/Carl L. Bekofske___
                                                        Carl L. Bekofske,
                                                        Standing Chapter 13 Trustee
                                                        400 N. Saginaw St., Ste 331
                                                        Flint, MI 48502
                                                        Telephone: (810) 238-4675
                                                        Fax: (810) 238-4712
                                                        Email: ECF@flint13.com
                                                        P10645




          12-33563-dof   Doc 87     Filed 07/05/18   Entered 07/05/18 12:54:57   Page 1 of 1
